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TRISHA TSHUDY                 :                      UNITED STATES DISTRICT
762 Palmyra Bellegrove Road   :                      COURT FOR THE EASTERN
Annville, PA 17003            :                      DISTRICT OF PENNSYLVANIA
                              :
                 v.           :
                              :                      2:22-cv-03336
PENNSYLVANIA STATE UNIVERSITY :
1600 Woodland Road            :
Abington, PA 19001            :                      JURY TRIAL DEMANDED

    ORDER FOR A PERMANENT AND/OR PRELIMINARY INJUNCTION

       AND NOW, this ____________ day of ______________, 2022, upon

consideration of plaintiff’s motion for a permanent and/or preliminary injunction, it is

hereby ORDERED and DECREED that defendant is enjoined from taking any action

barring plaintiff from completing her third year as a law student at Dickinson Law

School of Pennsylvania State University or revoking her scholarship.

       Plaintiff is to be immediately reinstated in Dickinson Law School of the

Pennsylvania State University in her third year to complete all requirements for

graduation, while the underlying litigation is addressed.




                                                     BY THE COURT:


                                                     __________________________
                                                     Beetlestone, J.
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BY: WILLIAM C. REIL, ESQUIRE
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TRISHA TSHUDY                 :                       UNITED STATES DISTRICT
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                    PLAINTIFF’S AMENDED MOTION FOR
              A PERMANENT AND/OR PRELIMINARY INJUNCTION

       Plaintiff, Trisha Tshudy, through her undersigned counsel, requests the Court to

Order a Preliminary and/or Permanent Injunction, and in support thereof, it is averred

as follows:

Introduction

       The plaintiff filed a complaint and motion for a permanent and/or preliminary

injunction on August 21, 2022. Defendant’s counsel has agreed to accept service.

There was a status conference with the Court on 8/26/22. The Court issued an Order on

that date dismissing plaintiff’s motion for injunctive relief without prejudice. This

amended motion is in response to the Court’s Order.

       Plaintiff was to begin classes at Dickinson Law School on 8/22/22.

       1. The plaintiff is Trisha Tshudy, who is an adult individual residing at the

address in the caption and is a law student at Pennsylvania State University, Dickinson

Law School, who is going into her third and final year.

       2. Ms. Tshudy received a scholarship to Dickinson Law School in 2019.
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        3. Plaintiff has suffered from neurological Lyme disease and immunological

problems since 2009, for which she received a disability accommodation from

defendant.

        4. Plaintiff received accommodations from Penn State University arising out of

her immunological disorder which consisted of, inter alia, taking her classes and tests

on-line to prevent the life-threatening exposure as a member of the COVID-19 high-

risk community.

        5. Penn State University discriminated against the plaintiff by revoking her

remote accommodation at the end of the semester and forcing her onto campus despite

the life-threatening risk it entailed. This resulted in severe illness as expected.

        6. When this resulted in severe illness as expected, Penn State

University further discriminated by refusing to communicate any alternatives to

mitigate the academic detriment.

        7. Ms. Tshudy received an honor code violation based on the analysis of the

machine Turnitin. The University rejected an analysis more favorable to the plaintiff

from a similarity-checker like Turnitin. Immediately after inquiring about any

affirmative action review of what transpired, plaintiff received a letter on February 16,

2022 from Dean Conway revoking her scholarship as a result of these findings.

        8. Plaintiff has not been technically dismissed from law school and is eligible to

attend, but her scholarship has been revoked and she has been illegally blocked from

attending law school by the administration at Dickinson.

        9. The defendant is Pennsylvania State University, a university of the

Commonwealth of Pennsylvania with address in the caption. At all times material

herein, the defendant was a state actor.

        10. On or about 08/21/22, plaintiff filed a complaint for violation of her
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constitutional rights, alleging that her scholarship was illegally revoked and she was

barred from attending her third year at Dickinson Law School.

        11. Plaintiff is currently eligible to attend her third year of law school based on

her GPA, if the administration had not retaliated against her and refused to let her start

classes, which began on 8/22/22.

        12. Unless defendant is enjoined from revoking plaintiff’s scholarship and

required externship, she will suffer immediate and irreparable harm for which plaintiff

has no adequate remedy at law. If plaintiff is illegally barred from attending law school,

her career as a lawyer will be terminated. No amount of money can compensate

plaintiff for the loss of the status and satisfaction as an attorney, or the ability to right

wrongs in the public interest.

        13. Plaintiff will be irreparably harmed, if she is not allowed to attend her third

year of law school, because that will keep plaintiff from graduating and taking the bar

exam.

        14. Plaintiff is illegally being barred from completing her third year at

Dickinson Law School arising out of the letter which she received on 02/16/22

revoking her scholarship. A true and correct copy of this letter is attached and

incorporated as Exhibit “A” to the complaint.

        15. Plaintiff’s complaint is incorporated herein.

        16. It is averred that plaintiff’s right to relief is clear:

            (a) Plaintiff is eligible, but is being blocked from attending law school as

            retaliation for the exercise of her rights attendant to disability

            accommodations;

            (b) Plaintiff received inappropriate due process when she was forced to

            confront a machine at her honor code hearing;
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            (c) Evidence was illegally accepted from Turnitin where there were no

            standards for such a machine, and plaintiff did not consent to the submission

            of her paper to this similarity checker;

            (d) Ms. Tshudy was ultimately banned from the law school by defendant

            when she sought to assert her disability rights;

            (e) Plaintiff’s First Amendment rights were violated when she was

            instructed by Dean Conway not to discuss with any employees the Bursar’s

            statement that her scholarship was illegally revoked, and the defendant used

            this to prevent any communication that could lead to temporary resolution

            of the plaintiff’s account;

            (f) Plaintiff’s rights of due process were further violated when she was

            denied counsel, a hearing with cross-examination, and the ability to confront

            her accuser.

        17. Plaintiff avers that she is likely to succeed on the merits of her claim, as

heretofore stated. For this reason, defendant is blocking her access to the law school,

until it is too late for her to attend.

        18. The public interest in having competent lawyers exceeds any temporary

inconvenience to the university, while plaintiff is attending law school.

        WHEREFORE, Plaintiff requests the Court to award appropriate legal,

equitable and injunctive relief.



                                                               Respectfully submitted,
                                                               /s/ William C. Reil
                                                               William C. Reil, Esquire
                                                               Attorney for Plaintiff
                                                               08/30/22
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   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S AMENDED
   MOTION FOR A PERMANENT AND/OR PRELIMINARY INJUNCTION


I. BACKGROUND

       The pertinent facts set forth in plaintiff’s complaint are incorporated herein by

reference. Paragraphs 23-25 inclusive of the complaint, which constitute a summary,

are as follows:

      23. The gravamen of this lawsuit arises out of the violation of plaintiff’s due
process rights and rescission of her scholarship, going into her third year of law school
at Dickinson. Plaintiff was denied rudimentary due process at her honor code hearing,
was denied counsel, and was forced to confront a so-called similarity checker, inter alia.
These machines were not used in plaintiff’s other courses.

      24. Dickinson discriminated against the plaintiff by violating her right to
accommodations under the ADA, the very accommodations Penn State University
agreed to and memorialized on which the plaintiff detrimentally relied. Plaintiff was
required to take her online final exams on campus when such action was deleterious to
her health.

       25. When plaintiff learned from the Bursar’s Office that her scholarship had been
revoked without proper procedure, her First Amendment rights were then violated. She
was instructed by Dean Conway not to speak with anybody on campus concerning what
the Bursar had told her. Defendant retaliated and discriminated against plaintiff arising
out of exercise of her rights as a disabled person. The effectual refusal to allow
financial services to communicate with the Plaintiff until the completion of the
affirmative action review is retaliation.
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       At this time, plaintiff has been barred from attending her third year at the

Dickinson Law School and her scholarship has been revoked.

II. ARGUMENT AND CONCLUSION OF LAW

       Requirement for a Preliminary Injunction

       Plaintiff incorporates all prior paragraphs as though fully set forth herein.

       To secure preliminary injunctive relief, plaintiff must establish her need for

immediate relief by showing (1) she is likely to succeed on the merits; and (2) denial of

preliminary injunctive relief will result in irreparable harm to her before a trial on the

merits can take place. BP Chems. Ltd. V. Formosa Chem. & Fibre Corp., 229 F.3d 254,

263 (3d Cir. 2000). When reviewing an application for preliminary injunctive relief,

the Court should also consider whether (3) granting an injunction will result in

irreparable harm to the non-moving party and/or harm to the moving party outweighs

the harm to the non-moving party and (4) granting the injunction is in the public

interest. Frank Russell Co. v. Wellington Management Co., 154 F.3d 97, 101 (3d Cir.

1998). See also Acierro v. New Castle Co., 40 F.3d 645, 647, 653 (3d Cir. 1994).

       A plaintiff seeking a permanent injunction must demonstrate: (1) actual success

on the merits of the underlying dispute; (2) irreparable injury; (3) the inadequacy of

remedies available at law; (4) that the balance of hardship between the plaintiff and

defendant weigh in favor of injunctive relief; and (5) that the public interest would not

be disserved by the injunction. See eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388,

391 (2006); Shields v. Zuccarini, 254 F.3d 476, 482 (3d Cir. 2001); Ciba-Geigy Corp. v.

Bolar Pharmaceutical Co., Inc., 747 F.2d 844, 850 (3d Cir. 1984).

       Plaintiff satisfies the requirements for the issuance of a preliminary injunction.

Her dismissal was in violation of her due process rights, as well as a violation of the

First Amendment, and her rights as a person with disability status.
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       Plaintiff will likely succeed on the merits, since there is no dispute that the

University required her to take a final examination in person which was in violation of

the right to reasonable accommodation.

       The denial of preliminary injunctive relief will result in irreparable harm to Ms.

Tshudy before her trial can take place on the merits, since plaintiff will not be able to

complete her third year of law school unless she is immediately allowed to resume

classes.

       The granting of a preliminary injunction will cause little or no harm to

defendant, and plaintiff will otherwise be barred from becoming an attorney.

       Granting the preliminary injunction is in the public interest, since plaintiff did

not receive due process and she has already demonstrated, through her receipt of a

scholarship, her ability as a potential attorney which would benefit the public.

       The degree of particularity required for an injunction depends on the nature of

the subject matter. McComb v. Jacksonville Paper Co., 336 U.S. 187, 191-92, 69 S.Ct.

497, 499-500, 93 L.Ed. 599 (1949).

       A preliminary injunction is necessary to prevent imminent and irreparable harm

to Trisha Tshudy’s completion of her law school education and future as an attorney.

III. CONCLUSION

       For all the foregoing reasons, plaintiff respectfully requests this Court to grant a

Preliminary and/or Permanent Injunction as indicated on the proposed Order.



                                                              Respectfully submitted,
                                                              /s/ William C. Reil
                                                              William C. Reil, Esquire
                                                              Attorney for Plaintiff
                                                              08/30/22
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                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the attached document (s) was

served upon all other parties or their counsel of record by:


                               _____________________           Regular First Class Mail

                               _____________________           Facsimile

                               _____________________           Certified Mail

                               _____________________           Hand-Delivered

                                          X                    Electronic Filing

                               _____________________           Federal Express




                                                               /s/ William C. Reil
                                                               William C. Reil, Esquire
                                                               Attorney for Plaintiff
                                                               08/30/22
